
Memorandum. — ‘The precise grounds of the judgment of the court of appeals in this case, are not known further, than what was said by judge Mercer, in the case of Tate v. Watkins, 3 Call, who says, that the court held, that the representatives of two deceased persons could not be joined in the same action. But, as, in a bill in equity, which was afterwards brought upon the same contract, the plaintiffs say, that there were various errors assumed, (these do not appear in the record, for the assignment of errors is lost,) which the plaintiffs are bound to consider as legal objections, since they were so adjudged by the court, although some of them were occasioned by the derangements and loss of papers in the time of the British invasion, it is probable that the court went upon the want of an issue also.
